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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Newport News Division

  PATRICIA E. MULLINEX,
  Individually and as Executor of the
  Estate of Herbert H. Mullinex, Jr.

                         Plaintiff,

  v.                                                     CIVIL ACTION NO.: 4:18-cv-00033

   JOHN CRANE, INC., et al.

                         Defendant.

                       PLAINTIFF’S MEMORANDUM IN SUPPORT OF
                                MOTION FOR DEFAULT

         COMES NOW Plaintiff, by counsel, pursuant to Rule 55(a) of the Federal Rules of Civil

  Procedure and submits the following Memorandum in Support of Motion for Default. In support

  of her motion, Plaintiff respectfully states as follows:

                                           BACKGROUND

         1.      On March 22, 2022, after Plaintiff’s counsel conferred with counsel for Defendant,

  John Crane, Inc. (hereinafter “JCI”), Plaintiff filed an Unopposed Motion for Leave to File Third

  Amended Complaint to Conform to the Evidence and Procedural Posture of this Case and a

  memorandum in support. (See ECF Nos. 475 & 476).

         2.      The Court granted Plaintiff’s Motion and ordered that “Defendant shall Answer or

  otherwise respond to the Third Amended Complaint within 14 Days of the filing.” (ECF 477).

         3.      Plaintiff filed a Third Amended Complaint on March 24, 2022, (ECF 478),

  including five (5) additional paragraphs not included in the Second Amended Complaint, or the

  First Amended Complaint, as follows:
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              a. Paragraph 6. “HERBERT H. MULLINEX, JR. departed this life as a direct and

                 proximate consequence of his malignant mesothelioma on November 11,

                 2021.”

              b. Paragraph 7. “PATRICIA E. MULLINEX was appointed Executor of the Estate

                 of Herbert H. Mullinex, Jr. by the Circuit Court of Augusta County, Virginia

                 on December 7, 2021.”

              c. Paragraph 8. “On January 18, 2022, this Court granted Plaintiff’s Motion to

                 Substitute a Proper Party Pursuant to Fed. R. Civ. P. 25(a).”

              d. Paragraph 29. “Plaintiff’s Decedent’s pre-death pain and suffering and other

                 losses as described in Paragraph 28, above, survived his death and constitute a

                 separate and distinct survival claim pursuant to admiralty and general maritime

                 law as set forth in Wahlstrom v. Kawasaki Heavy Indus., Ltd., 4 F.3d 1084 (2nd

                 Cir. 1993), John Crane, Inc. v. Hardick, 284 Va. 329, 732 S.E.2d 1 (2012) cert.

                 denied, 133 S. Ct. 1236 (2013), or in accordance with the Jones Act.”

              e. Paragraph 30. “As a direct and proximate result of the injury and death of

                 HERBERT H. MULLINEX, JR. as a result of the negligence, carelessness,

                 gross negligence, willful misconduct, strict liability, and willful omissions of

                 Defendants, his survivors were caused to suffer substantial mental anguish,

                 sorrow and loss of solace, including loss of society, companionship, love and

                 affection, comfort, guidance, kindly offices, and advice of Plaintiff’s Decedent

                 HERBERT H. MULLINEX, JR. before and after his death. His survivors were

                 also caused to suffer substantial loss of the support, services, including loss of

                 the benefit of the earnings HERBERT H. MULLINEX, JR. would have earned,



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                     loss of inheritable estate, loss of protection, and loss of the care and assistance

                     Plaintiff’s Decedent would have provided but for his untimely death. Moreover,

                     Plaintiff’s Decedent’s survivors were caused to incur expenses for Plaintiff’s

                     Decedent’s care, treatment, and hospitalization incident to the illness resulting

                     in his death, and reasonable funeral expenses. All of the foregoing expenses,

                     suffering and losses are compensable under maritime law pursuant to the Jones

                     Act, Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199 (1996), or Sea-

                     Land Servs., Inc. v. Gaudet, 414 U.S. 573 (1974).

         4.      JCI’s Answer was therefore due on April 7, 2022, fourteen (14) days from March

  24, 2022, the day Plaintiff filed her Third Amended Complaint. (See ECF 477; see also Fed. R.

  Civ. P. 15(a)(3) (“Unless the court orders otherwise, any required response to an amended

  pleading must be made within the time remaining to respond to the original pleading or within 14

  days after service of the amended pleading, whichever is later.” (emphasis added)).

         5.      On April 6, 2022, JCI, filed its Motion to Dismiss Plaintiffs’ Claim for Survival

  Damages Under Federal Rule of Civil Procedure 12(b)(6), (see ECF 481), and a memorandum in

  support seeking to strike Plaintiff’s survival cause of action and request for survival damages

  alleged in Paragraph 29 of Plaintiff’s Third Amended Complaint. (See ECF 482). JCI never filed

  an answer or any other responsive pleading to the remainder of the allegations in Plaintiff’s

  Third Amended Complaint.

         6.      On May 23, 2022, the Court granted JCI’s motion and dismissed Plaintiff’s survival

  cause of action. (ECF 538). On June 10, 2022, this Court issued a memorandum opinion providing

  the rationale for its decision to dismiss Plaintiff’s survival cause of action. (ECF 544).




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         7.      On May 25, 2022,1 the Court issued an order granting Plaintiff leave to file a motion

  for leave to file a fourth amended complaint, and the Court additionally granted leave to JCI to file

  a motion for summary judgment as well. (See ECF 543).

         8.      Plaintiff filed her Motion for Leave to File a Fourth Amended Complaint to

  Conform to the Procedural Posture of this Case and a memorandum in support on June 14, 2022.

  (See ECF 545 & 546).

         9.      JCI filed its Supplemental Motion for Summary Judgment and a memorandum of

  support on June 14, 2022, but it failed to move for summary judgment as to wrongful death

  damages. (See ECF 547 & 548).

         10.     On August 15, 2022, the Court denied JCI’s motion for summary judgment,

  holding that “there are still genuine issues of material fact regarding Plaintiffs wrongful

  death claim, a claim that was never challenged by Defendants at summary judgment.” (See

  ECF 553).

         11.     On August 22, 2022, the Court denied Plaintiff’s motion for leave to file a Fourth

  Amended Complaint. (See ECF 554).

                                             ARGUMENT

         JCI has had since March 24, 2022, (see ECF 477 & 478), to submit its Answer to Plaintiff’s

  Third Amended Complaint. Regardless of any of the excuses JCI may put forth, JCI has since

  failed to answer Plaintiff’s Third Amended Complaint within the last five (5) months as to

  Plaintiff’s wrongful death cause of action, demonstrating a lack of desire to defend said wrongful

  death cause of action, and JCI is therefore in default.



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    The Court originally made ore tenus rulings regarding the procedure for filing additional
  pleadings on May 24, 2022, but these rulings were superseded via this Court’s May 25, 2022,
  Order. (See ECF 543).
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         JCI may make a tolling argument as an excuse as to why it has not answered Plaintiff’s

  Third Amended Complaint, but none of these excuses have been put before this Court. Neither the

  facts nor the law supports any tolling argument in this case.

         JCI may assert that its Rule 12(b)(6) motion, (see ECF 481), tolled its responsibility to

  Answer in this case from the period of April 6, 2022, (see ECF 481), to May 23, 2022, (see ECF

  538). This argument is not supported by the federal rules or caselaw for several reasons. JCI’s

  Answer as to Plaintiff’s wrongful death cause of action was due on April 7, 2022, and JCI has

  since failed to answer. First, Federal Rule of Civil Procedure 12(b)(6) motion does not relieve JCI

  of its obligation to file an Answer to Plaintiff’s Third Amended Complaint. See Fed. R. Civ. P.

  15(a)(3). Second, while a Rule 12(b)(6) pre-answer motion may toll the time to respond to the

  original complaint, a similar application of tolling does not apply to responses to an amended

  complaint. Amy St. Eve & Michael A. Zuckerman, The Forgotten Pleading, 7 Fed. Cts. L. Rev.

  152, 159 (2013) (Filing a Rule 12 motion “tolls the time to answer until the court disposes of the

  motion, though a pre-answer motion in response to an amended complaint may not.” (emphasis

  added) (footnote indicators omitted) (citing Fed. R. Civ. P. 12(a)(4); Fed R. Civ P. 15(a)(3); Gen.

  Mills, Inc. v. Kraft Foods Global, Inc., 487 F.3d 1368, 1376 (Fed. Cir. 2007) (“The filing of a

  motion to dismiss does not extend the time for filing an answer to an amended complaint, at least

  in the circumstance here where the time for responding to the original complaint has already run.”),

  clarified on denial of rehearing, 495 F.3d 1378, 1380–81 (Fed. Cir. 2007)). Third, the Fourth

  Circuit has not specifically addressed whether tolling exists for claims not addressed in a Rule

  12(b)(6) motion where the motion to dismiss addresses some, but not all, of the claims, as in this

  case. (See Fed R. Civ. P. 12(a)(4) (considering that the rule does not address the situation at bar);

  see Gerlach v. Michigan Bell Tel. Co., 448 F. Supp. 1168, 1174 (E.D. Mich. 1978) (“F.R.C.P. 12



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  does not explicitly address the issue of whether the filing of a motion under F.R.C.P. 12(b) also

  alters the time within which the moving party must respond to claims in the complaint not

  addressed in the motion.”). Plaintiff herein maintains that “[s]eparate counts are, by definition,

  independent bases for a lawsuit . . . the parties are responsible to proceed with litigation on those

  counts which are not challenged by a motion under F.R.C.P. 12(b)[,]” Gerlach, 448 F. Supp. at

  1174, and JCI’s failure to address the separate counts in Plaintiff’s Third Amended Complaint is

  therefore a default. Even though its Rule 12(b)(6) motion addressed survival cause of action, no

  such challenge was made as to Plaintiff’s wrongful death cause of action. Plaintiff contends that

  such omission is fatal, and an answer to Plaintiff’s wrongful death cause of action was due on

  April 7, 2022. Id. JCI’s failure to answer in the five (5) months since places it in default from that

  date to the present.

         JCI may also argue that its requirement to answer was tolled during the pendency of its

  Supplemental Motion for Summary Judgment, (see ECF 547 & 548), from the period of May 25,

  2022, (see ECF 543), until August 15, 2022, (see ECF 533). Again, this argument is not supported

  by the rules or the caselaw. As with the Rule 12(b)(6) motion, supra, the Supplemental Motion for

  Summary Judgment does not address Plaintiff’s claim for wrongful death damages in any way.

  (See ECF 553 (denying JCI’s supplemental motion for summary judgment because “there are

  genuine issues of material fact regarding Plaintiffs wrongful death claim, a claim that was never

  challenged by Defendants at summary judgment”); see also Mann v. Lee, 2009 WL 5178095 at *2

  (N.D. Cal. Dec. 22, 2009) (collecting cases) (“[N]either the text of Rule 12 nor Rule 56 addresses

  whether the filing of a summary judgment motion likewise tolls the time to answer. Some federal

  courts, however, have determined that the tolling effect of Rule 12(a) may be extended by analogy

  to the filing of a motion for summary judgment where such motion adequately contests the



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  action.”) (emphasis added)). As reiterated previously, where “[s]eparate counts are, by definition,

  independent bases for a lawsuit,” JCI was again responsible to proceed with litigation on the counts

  not addressed under its motion for summary judgment. Gerlach, 448 F. Supp. at 1174. Where no

  such challenge was made as to Plaintiff’s wrongful death cause of action, no tolling exists as to

  the wrongful death cause of action.

         Additionally, JCI may argue that the pendency of Plaintiff possibly filing a Fourth

  Amended Complaint tolled its responsibility to answer from the period of May 25, 2022, (see ECF

  543), until August 22, 2022, (see ECF 554). This argument is not supported by the rules or the

  caselaw. Tolling did not occur here because the Court did not permit a fourth amended complaint

  to be filed. An amended complaint “is not actually ‘filed’ until the court grants ‘leave’ for the

  amendment[,]” and the motion for an amended complaint is ultimately granted. Angles v. Dollar

  Tree Stores, Inc., 494 Fed. Appx. 326, 329 (4th Cir. 2012) (citing Murray v. Archambo, 132 F.3d

  609, 612 (10th Cir.1998)). In this case, Plaintiff’s motion for a fourth amended complaint was

  denied. (See ECF 554). There is no federal rule or caselaw that authorizes a motion for leave to

  amend to absolve the JCI’s need to answer Plaintiff’s Third Amended Complaint.

         JCI has undoubtedly failed to submit its Answer to Plaintiff’s Third Amended Complaint

  as to Plaintiff’s wrongful death cause of action by April 7, 2022, or in the alternative, within

  fourteen (14) days of any last conceivable point of tolling, the date this Court denied Plaintiff’s

  Motion for Leave to File a Fourth Amended Complaint to Conform to the Procedural Posture of

  this Case on August 22, 2022 (See ECF 554). JCI has known since March 24, 2022, that it needed

  to file its Answer to Plaintiff’s Third Amended Complaint as to Plaintiff’s wrongful death cause

  of action, and yet it has failed to do so, time and time again, in opposition to what was required by

  this Court’s Order (ECF 447) and Fed. R. Civ. P. 15(a)(3). In turn, Paragraphs 6, 7, 8, 29, and 30



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  of Plaintiff’s Third Amended Complaint remain unanswered by any prior answer from JCI.

  Further, even though JCI’s Rule 12(b)(6) motion and summary judgment motion addressed

  survival damages, no such challenge was made as to Plaintiff’s wrongful death claim in any form:

  In her Third Amended Complaint, Plaintiff alleged both a survival action and a wrongful death

  action, claiming the damages allowed under Virginia’s wrongful death statute and reciting Yamaha

  Motor Corp. v. Calhoun, 516 U.S. 199, 116 S. Ct. 619, 133 L. Ed. 2d 578 (1996), as authority for

  Virginia’s wrongful death damages. (ECF 478). JCI never answered Plaintiff’s Third Amended

  Complaint and therefore never denied Plaintiff’s entitlement to any of these damages.

  Accordingly, JCI is in default as to these claims.

         Finally, when JCI filed its Supplemental Motion for Summary Judgment and a

  memorandum of support on June 14, 2022, it failed to move for summary judgment as to wrongful

  death damages. (See ECF 547 & 548). This is reflected in the Court’s August 15, 2022, Order

  wherein the Court denied JCI’s motion for summary judgment, holding that “there are still genuine

  issues of material fact regarding Plaintiffs wrongful death claim, a claim that was never challenged

  by Defendants at summary judgment.” (See ECF 533). JCI has therefore failed to plead or

  otherwise defend as provided by Rule 55(a) of the Federal Rules of Civil Procedure, as early as

  April 7, 2022, but even utilizing any conceivable means of tolling, JCI has failed to plead or

  otherwise defend within fourteen (14) days of August 22, 2022, the date the Court denied

  Plaintiff’s motion for leave to file a Fourth Amended Complaint. (ECF 554). No excuses have

  been made by JCI, no objections have been filed, and no explanation has been submitted within

  the last five (5) months contesting Plaintiff’s claim to wrongful death damages. JCI has therefore

  demonstrated a lack of desire to defend against Plaintiff’s wrongful death cause of action for that




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  five-month duration. For the foregoing reasons, JCI is in default as to Plaintiff’s wrongful death

  cause of action.

                                          CONCLUSION

         In conclusion, Plaintiff moves for entry of default in this matter because JCI has failed to

  plead or otherwise defend as provided by Rule 55(a) of the Federal Rules of Civil Procedure, and

  as required by this Court’s Order (see ECF 447) and Fed. R. Civ. P. 15(a)(3). Wherefore, for the

  foregoing reasons, Plaintiff requests that this Court grant Plaintiff’s Motion for Default and for

  such other relief as the Court deems just and proper.




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         Respectfully Submitted,

         By: /s/ Hugh B. McCormick, III, Esq.
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on the 7th day of September, 2022, a true and accurate copy of the
   foregoing was filed electronically with the United States District Court for the Eastern District of
   Virginia using the CM/ECF system, which automatically sends all necessary notifications of this
   filing to the following:

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